Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 1 of 46 PAGEID #: 212




                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO

                                                )
 EASTERN GATEWAY COMMUNITY                      )
 COLLEGE                                        )
                                                )
                       Plaintiff,               )
                                                ) Civil Action No. 3:22-cv-03326-EAS
 v.                                             )
                                                )
 MIGUEL CARDONA, in his official                )
 capacity as Secretary of Education, and        )
 UNITED STATES DEPARTMENT OF                    )
 EDUCATION                                      )
                                                )
                       Defendants.              )
                                                )
                                                )

      DEFENDANTS’ MOTION TO DISMISS FOR LACK OF SUBJECT MATTER
             JURISDICTION, AND OPPOSITION TO PLAINTIFF’S
               MOTION FOR A PRELIMINARY INJUNCTION

        Pursuant to Federal Rule of Civil Procedure 12(b)(1), Defendants Miguel Cardona and the

United States Department of Education hereby move to dismiss Plaintiff’s Complaint for lack of

Subject Matter Jurisdiction, and Oppose Plaintiff’s Motion for Preliminary Injunction. See ECF

No. 4. The grounds for this Motion and Opposition are set forth in detail in the accompanying

Memorandum in Support.

      Dated: September 20, 2022                      Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     MARCIA BERMAN
                                                     Assistant Branch Director

                                                     s/ Alexander N. Ely
                                                     ALEXANDER N. ELY
                                                     Trial Attorney
                                                     United States Department of Justice
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 2 of 46 PAGEID #: 213




                                             Civil Division, Federal Programs Branch
                                             1100 L Street NW, Washington, DC 20005
                                             Tel: (202) 993-5177; Fax: (202) 616-8470
                                             alexander.n.ely@usdoj.gov

                                             Counsel for Defendants
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 3 of 46 PAGEID #: 214




                        UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO

                                           )
 EASTERN GATEWAY COMMUNITY                 )
 COLLEGE                                   )
                                           )
                      Plaintiff,           )
                                           ) Civil Action No. 3:22-cv-03326-EAS
 v.                                        )
                                           )
 MIGUEL CARDONA, in his official           )
 capacity as Secretary of Education, and   )
 UNITED STATES DEPARTMENT OF               )
 EDUCATION                                 )
                                           )
                      Defendants.          )
                                           )
                                           )


      DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION TO DISMISS FOR
           LACK OF JURISDICTION AND OPPOSITION TO PLAINTIFF’S
                  MOTION FOR PRELIMINARY INJUNCTION
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 4 of 46 PAGEID #: 215




                      COMBINED TABLE OF CONTENTS & AUTHORITIES

INTRODUCTION................................................................................................................... 1
LEGAL AND PROCEDURAL BACKGROUND .................................................................... 3
         A.        The Higher Education Act & Title IV ................................................................ 3
                   20 C.F.R. § 690
                   20 U.S.C. § 1001(a)(5)
                   20 U.S.C. § 1070
                   20 U.S.C. § 1087ll
                   20 U.S.C. § 1094(a)
                   20 U.S.C. § 1099c(d)
                   20 U.S.C. § 1226a-1
                   34 C.F.R. § 600.4(a)(5)
                   34 C.F.R. § 668.14
                   34 C.F.R. § 668.16
                   34 C.F.R. § 668.162
                   34 C.F.R. § 668.163
                   34 C.F.R. § 690.12
                   34 C.F.R. § 690.13
                   2021-2022 Student Financial Aid Handbook, Vol. 3 (2022)
                   Higher Education Act of 1965, Pub. L. No. 89-329, 79 Stat. 1219 (1965)
         B.        EGCC’s Nationwide Online Program and Consulting Agreement With
                   SRC.................................................................................................................. 5
                   20 U.S.C. § 1001(a)(5)
                   20 U.S.C. § 1099b
                   34 C.F.R. § 602.1
                   Ohio Rev. Code § 3354
                   Ohio Rev. Code. § 3354.01(c)
                   Ohio Rev. Code § 3354.24(b)
                   Student Res. Ctr. v. E. Gateway Cmty. Coll., No. 2:22-CV-2653, 2022 WL
                   2666730 (S.D. Ohio July 11, 2022)
         C.        The Department of Education’s Program Review at EGCC and
                   Subsequent Administrative Actions ................................................................... 9
                   20 U.S.C. § 1087ll
                   34 C.F.R. § 600.2
         D.        This Litigation ................................................................................................ 13
STANDARD OF REVIEW ................................................................................................... 14
         Aarti Hosp., LLC v. City of Grove City, 486 F. Supp. 2d 696 (S.D. Ohio 2007)
         Leary v. Daeschner, 228 F.3d 729 (6th Cir. 2000)
         McPherson v. Mich. High Sch. Athletic Ass'n, Inc., 119 F.3d 453 (6th Cir. 1997)
         Metro Hydroelec. Co. v. Metro Parks, 541 F.3d 605 (6th Cir. 2008)
         Mezibov v. Allen, 411 F.3d 712 (6th Cir. 2005)


                                                                   i
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 5 of 46 PAGEID #: 216




          Munaf v. Geren, 553 U.S. 674 (2008)
          Ne. Ohio Coal. for the Homeless v. Husted, 696 F.3d 580 (6th Cir. 2012)
          O'Bryan v. Holy See, 556 F.3d 361 (6th Cir. 2009)
          Rote v. Zel Custom Mfg. LLC, 816 F.3d 383 (6th Cir. 2016)
          United States v. Glover, 242 F.3d 333 (6th Cir. 2001)
          United States v. Ritchie, 15 F.3d 592 (6th Cir. 1994)
          Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7 (2008)
ARGUMENT ........................................................................................................................ 15
I.        THIS COURT LACKS SUBJECT MATTER JURISDICTION OVER EGCC’S
          CLAIMS.................................................................................................................... 16
          Arbaugh v. Y&H Corp., 546 U.S. 500, 126 S. Ct. 1235, 163 L. Ed. 2d 1097 (2006)
          Baker v. Carr, 369 U.S. 186 (1962)
          Gaetano v. United States, 994 F.3d 501 (6th Cir. 2021)
          Gill v. Whitford, 138 S. Ct. 1916 (2018)
          Kontrick v. Ryan, 540 U.S. 443 (2004)
          LaMarca v. United States, 34 F. Supp. 3d 796 (N.D. Ohio 2014)
          Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992)
          Phillips v. DeWine, 841 F.3d 405 (6th Cir. 2016)
          Whittle v. United States, 7 F.3d 1259 (6th Cir. 1993)
          A.        Heightened Cash Monitoring Status is Committed to Agency Discretion
                    by Law, Precluding Review Under the APA .................................................... 17
                    5 U.S.C. § 701(a)(2)
                    20 U.S.C. § 1226a-1
                    34 C.F.R. § 668.162
                    Bowling Green Jr. Coll. v. U.S. Dep’t of Educ., 687 F. Supp. 293 (W.D. Ky.
                      1988)
                    Heckler v. Chaney,470 U.S. 821 (1985)
                    Instituto de Educacion Universal Corp. v. Riley, 973 F. Supp. 95 (D.P.R. 1997)
                    Int’l Jr. Coll. of Bus. & Tech., Inc. v. Duncan, 802 F.3d 99 (1st Cir. 2015)
                    Lincoln v. Vigil, 508 U.S. 182 (1993)
                    Webster v. Doe,486 U.S. 592 (1988)
          B.        Because EGCC Cannot Meet The Requirements of HCM2, Declaratory or
                    Injunctive Relief Against the Cease and Desist Letter Would Not Redress
                    EGCC’s Alleged Injuries, and It Therefore Lacks Standing .............................. 19
                    Glennborough Homeowners Ass’n v. United States Postal Serv.,21 F.4th 410 (6th
                      Cir. 2021)
                    Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992)
                    S. Walk at Broadlands Homeowner's Ass'n, Inc. v. OpenBand at Broadlands,
                      LLC, 713 F.3d 175 (4th Cir. 2013)
                    Steel Co. v. Citizens for a Better Env't, 523 U.S. 83 (1998)
                    WTGD 105.1 FM v. SoundExchange, Inc., No. 5:14-CV-00015, 2014 WL
                      12819789 (W.D. Va. Sept. 12, 2014)
II.       EGCC IS NOT LIKELY TO SUCCEED ON THE MERITS ....................................... 22


                                                                  ii
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 6 of 46 PAGEID #: 217




      A.    The Cease-and-Desist Letter Is Not Final Agency Action As Required to
            State a Claim Under the APA .......................................................................... 22
            5 U.S.C. § 704
            34 C.F.R. §§ 668.111–24
            Allsteel, Inc. v. U.S. E.P.A.,25 F.3d 312 (6th Cir. 1994)
            Am. Bar Ass'n v. United States Dep't of Educ., 370 F.Supp.3d 1 (D.D.C. 2019)
            Bennett v. Spear, 520 U.S. 154 (1997)
            LaMarca v. United States, 34 F. Supp. 3d 796 (N.D. Ohio 2014)
            St. Catharine Coll., Inc. v. King, No. 3:16-CV-00113-GNS, 2017 WL 1097205
              (W.D. Ky. Mar. 22, 2017)
            Sw. Airlines Co. v. U.S. Dep't of Transp., 832 F.3d 270 (D.C. Cir. 2016)
      B.    The Department’s Position in the Cease-and-Desist Letter Does Not
            Constitute a Limitation, Suspension, or Termination Under 20 U.S.C.
            §1094(c)(1)(F) and the Applicable Regulations ................................................ 26
            20 U.S.C. §1094(c)(1)(F)
            34 C.F.R. § 668.86(b)
            1.       The Cease-and-Desist Letter is Not a “Limitation” and the
                     Department’s Actions Were Consistent with the HEA and
                     Regulations ......................................................................................... 27
                     34 C.F.R. § 668.94
                     Auer v. Robbins, 519 U.S. 452 (1997)
                     Bowling Green Jr. Coll. v. U.S. Dep’t of Educ., 687 F. Supp. 293 (W.D.
                      Ky. 1988)
                     Kisor v. Wilkie, 139 S. Ct. 2400 (2019)
                     Spectrum Health Continuing Care Group v. Anna Marie Bowling
                      Irrecoverable Trust, 410 F.3d 304 (6th Cir. 2005)
                     Thomas Jefferson Univ. v. Shalala, 512 U.S. 504 (1994)
            2.       Subsequent Dealings Between the Parties Reinforce that EGCC
                     Has Not Suffered a Limitation on its Ability to Participate in the
                     Pell Grant Program .............................................................................. 29
      C.    EGCC Mischaracterizes the Nature of the Department’s Teachout
            Request, Which is Not Mandatory And Thus Not Subject to Section 1094 ........ 30
            20 U.S.C. § 1094(f)
            Caruso Tr. for ITT Educ. Servs. Inc. v. Modany, No.
             118CV02182JPHTAB, 2022 WL 2305693 (S.D. Ind. June 27, 2022)
      D.    The Department’s Determination in the Cease-and-Desist Letter Is Not
            Arbitrary and Capricious ................................................................................. 32
            20 U.S.C. § 1087ll
            In re Marriage of Larsen, 912 N.W.2d 444 (Iowa 2018)
            Noerand v. Devos, 474 F. Supp. 3d 394 (D. Mass. 2020)
            Oakley v. Devos, No. 20-CV-03215-YGR, 2020 WL 3268661 (N.D. Cal. June 17,
              2020)


                                                        iii
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 7 of 46 PAGEID #: 218




III.      THE REMAININING PRELIMINARY INJUNCTION FACTORS COUNSEL
          IN FAVOR OF DENYING RELIEF ........................................................................... 34
          11A WRIGHT & MILLER, FEDERAL PRACTICE & PROCEDURE CIV. §
            2948.1 (2d ed.)
          Abney v. Amgen, Inc., 443 F.3d 540 (6th Cir. 2006)
          Livonia Properties Holdings, LLC v. 12840-12976 Farmington Rd. Holdings, LLC,
            399 F. App'x 97 (6th Cir. 2010)
          R.K. v. Lee, 563 F. Supp. 3d 774 (M.D. Tenn. 2021)
          Wilson v. Williams, 961 F.3d 829 (6th Cir. 2020)
CONCLUSION ..................................................................................................................... 36




                                                                iv
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 8 of 46 PAGEID #: 219




                                        INTRODUCTION

       In the course of a broader program review brought about by serious concerns over

mismanagement and inadequate record-keeping at Eastern Gateway Community College

(“EGCC”)—including the fact that EGCC had been placed on probation by its accreditation

agency for a host of deficiencies—the Department of Education discovered that as part of its

nationwide, online learning program, EGCC was writing off all tuition costs and fees for students

that were not eligible for Pell Grants under Title IV of the Higher Education Act, and using federal

money from students who were eligible for Title IV funds to subsidize the rest of the program.

The Department concluded that what EGCC called its Free College Benefit Program violated Title

IV’s prohibition on disparate treatment because it assessed Pell Grant recipients the costs of tuition

and fees, while it did not assess those tuition and fees to non-Title IV students. Rather than await

the issuance of the final program review report, the Department—in an effort to encourage EGCC

to fix the problem and to avoid incurring additional liability until the program review concluded—

sent a cease-and-desist letter to EGCC on July 18, 2022, explaining the Department’s view that

the Free College Benefit Program, as constituted, violates Title IV, and providing instructions for

EGCC to take corrective action to bring the program into compliance.

       Notwithstanding this ongoing process, EGCC elected to file suit under the Administrative

Procedure Act (“APA”) and now seeks to enjoin the cease-and-desist letter. The Court should

reject this effort, for several reasons. First, the Court lacks subject matter jurisdiction over EGCC’s

claims because one of the actions taken by the Department from which EGCC claims to have

suffered injury—the school’s placement on the Heightened Cash Monitoring 2 (“HCM2”) method

of payment for Title IV funds—is committed to agency discretion by law and thus is unreviewable.

Additionally, EGCC has thus far not submitted a request for reimbursement under the HCM2




                                                  1
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 9 of 46 PAGEID #: 220




framework, and appears to lack the ability to comply with the documentation and other

requirements of HCM2. See Declaration of Jeremy Early, Ed.D (“Early Decl.”) (attached as

Exhibit 1). Because EGCC would likely be unable to access Title IV funds in any event even if

the cease-and-desist letter were enjoined, it is wholly speculative whether injunctive relief directed

at the cease-and-desist letter would redress EGCC’s injuries. EGCC thus lacks standing to

challenge the cease-and-desist letter.

       Should the Court conclude that it has jurisdiction, EGCC’s Motion for a Preliminary

Injunction (“Pl.’s Mot.”) should be denied on the merits. EGCC is not likely to succeed on the

merits for several reasons. The cease-and-desist letter is not final agency action as required to

state a claim under the APA; the cease-and-desist letter is not a limitation on EGCC’s participation

in Title IV; and the Department’s determination that EGCC’s Free College Benefit Program, as

currently structured, violates Title IV is not arbitrary and capricious under the APA.

       Nor has EGCC established the requisite irreparable harm necessary for extraordinary

injunctive relief. Students are in classes at EGCC this semester, and the Department specifically

informed EGCC that notwithstanding its concerns about the program, students enrolled at EGCC

in the Free College Benefit Program prior to the date of the cease-and-desist letter could continue

to access Pell funds through the end of the Fall semester while the parties continue to engage in

discussions about EGCC’s proposal to redesign the program to bring it into compliance with Title

IV. EGCC’s claim to have suffered irreparable harm also fails because it was EGCC itself that

disclosed the existence of the Department’s program review and the cease-and-desist letter, and a

party cannot manufacture irreparable harm through “self-inflicted” harm. The balance of equities

and the public interest also tilt decisively against awarding relief.

       The Court should either dismiss this lawsuit for lack of jurisdiction or, if it finds that




                                                  2
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 10 of 46 PAGEID #: 221




jurisdiction exists, deny EGCC’s motion for preliminary injunction.

                       LEGAL AND PROCEDURAL BACKGROUND

       A.      The Higher Education Act & Title IV

       Under Title IV of the Higher Education Act of 1965 (“HEA”), Pub. L. No. 89-329, 79 Stat.

1219, Congress established various student loan and grant programs, including the Federal Pell

Grant Program. See 20 U.S.C. § 1070 et seq.; 34 C.F.R. § 690. Under the Pell Grant program, the

student initiates the process with an application to the Department of Education (“DOE” or “the

Department”) to have his or her expected family contribution calculated. See 34 C.F.R. 690.12(a).

The student either sends the application directly to the Department, or provides it to a school for

the school to transmit it to DOE on the student’s behalf. Id. § 690.12(b). DOE sends the student’s

application information and expected family contribution to the student and sends each school

designated by the student an Institutional Student Information Record (“ISIR”) for that student.

Id. § 690.13. Assuming a school’s request for funds is consistent with information DOE has, the

agency transfers funds electronically to a bank account established by the school for holding

the Title IV funds it receives for all the federal student aid programs in which it participates. 34

C.F.R. §§ 668.162(b), 668.163.

       Although the mechanism by which Title IV funds are disbursed to eligible schools varies

depending on the precise program, each—including the Pell Grant Program—requires compliance

with specific conditions as a prerequisite to obtaining federal funds. To become eligible to

receive Title IV funds, or to have its students receive funds, under these programs, a school must

first enter into a program participation agreement with DOE which “shall condition the initial and

continuing eligibility of [an institution] to participate in a program upon compliance with” specific

requirements. 20 § U.S.C. 1094(a). See also 34 C.F.R. § 668.14. Qualifying Institutions of Higher

Education (“IHEs”) must also acquire and maintain an active accreditation from a nationally-


                                                 3
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 11 of 46 PAGEID #: 222




recognized accreditation agency. See 20 U.S.C. § 1001(a)(5); 34 C.F.R. § 600.4(a)(5). Along with

demonstrating financial responsibility, an institution must demonstrate its ability to properly

administer the Title IV programs in which it participates. Administrative capability focuses on the

processes, procedures, and personnel used in administering Title IV funds and indicators of student

success. 20 U.S.C. § 1099c(d); 34 C.F.R. § 668.16.

       Title IV makes clear that when establishing the tuition and fee component for Title IV

recipients, an institution must use an amount that is “normally assessed a student carrying the same

academic workload.” 20 U.S.C. §§ 1087ll (cost of attendance). In implementing this statutory

provision, the Department has consistently stated that a recipient of Title IV assistance cannot be

assessed charges that are higher than what is charged to a student not receiving Title IV aid. See

2021-2022 Student Financial Aid Handbook, Vol. 3 at 38 (Sept. 30, 2021) (“In establishing the

tuition and fees component of Title IV applicants, you must use an amount that is required for all

students in the same course of study . . . a recipient of Title IV aid cannot be assessed charges that

are higher than what is charged to a student not receiving aid under the Title IV programs.”) 1

       The HEA also vests sole discretion in the Secretary with respect to the mechanics of how

Title IV funds are provided to an institution. See 20 U.S.C. § 1226a-1 (“Payments pursuant to

grants or contracts under any applicable program may be made in installments, and in advance or

by way of reimbursement, with necessary adjustments on account of overpayments or

underpayments, as the Secretary may determine.”) (emphasis added). See also 34 C.F.R. §

668.162(a) (“The Secretary has sole discretion to determine the method under which the Secretary

provides title IV, HEA program funds to an institution. In accordance with procedures established



1     Available       at:     https://fsapartners.ed.gov/sites/default/files/2022-2023/2022-
2023_Federal_Student_Aid_Handbook/_knowledge-center_fsa-handbook_2022-2023_vol3.pdf


                                                  4
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 12 of 46 PAGEID #: 223




by the Secretary, the Secretary may provide funds to an institution under the advance payment

method, reimbursement payment method, or heightened cash monitoring payment method.”).

       The Subpart K regulations, which govern cash management and payment issues under the

student assistance programs, generally provide for three possible methods of payment and

reimbursement: the Advance payment method, the Reimbursement payment method, and the

Heightened cash monitoring payment method. See 34 C.F.R. § 668.162 (b)-(d) (explaining

different payment methods and obligations imposed on recipients when they are assigned to one

method or another). Under the Advance payment method, “an institution submits a request for

funds to the Secretary” and “[i]f the Secretary accepts that request, the Secretary initiates an EFT

[electronic funds transfer] of that amount to the depository account designated by the institution.”

34 C.F.R. § 668.162 (b). Under the Reimbursement method, “an institution must credit a student’s

ledger account for the amount of title IV, HEA program funds that the student or parent is eligible

to receive, and pay the amount of any credit balance due under § 668.164(h), before the institution

seeks reimbursement from the Secretary for those disbursements.” Id. § 668.162(c). Finally, under

Heightened Cash Monitoring an institution “must pay the amount of any credit balance due” before

requesting reimbursement, as in the Reimbursement method, but is also subject to heightened

documentation requirements. Id. § 668.162(d).

       B.      EGCC’s Nationwide Online Program and Consulting Agreement With SRC

       Plaintiff Eastern Gateway Community College is a two-year community college,

incorporated under the laws of the State of Ohio, see Ohio Revised Code § 3354 et seq., and is a

political subdivision of the State. Compl. ¶ 8, ECF No. 1. EGCC operates community college

branches in Steubenville and Youngstown, Ohio. Id. Under the applicable Ohio Code provision

defining “community college,” EGCC is a “public institution of education beyond the high school

organized for the principal purpose of providing for the people of the community college district


                                                 5
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 13 of 46 PAGEID #: 224




wherein such college is situated” certain types of instructional programs. See Ohio Revised Code.

§ 3354.01(C) (Sept. 30, 2021). Under the specific statutory provision defining the Eastern

Gateway district, the community college district comprises “two taxing subdistricts, one consisting

of the territory of Jefferson county, and the other consisting of the territories of Columbiana,

Mahoning, and Trumbull counties.” Id. § 3354.24(B).

       Beginning in or around 2016, EGCC underwent a dramatic growth in enrollment by

expanding beyond Ohio to offer online learning to individuals across the country. Much of this

nationwide expansion was driven by a Collaboration Agreement that EGCC entered into in 2017

with Student Resource Center (“SRC”), a private educational services company that provided

consulting services. See Student Res. Ctr. v. E. Gateway Cmty. Coll., No. 2:22-CV-2653, 2022

WL 2666730, at *1 (S.D. Ohio July 11, 2022). “SRC’s main services under the Agreement are to

interface with unions, field inquiries from union members, advise those members on course

enrollment (in conjunction with EGCC staff), and assist them with the admissions process.” Id.

Moreover, “any revenue, including tuition, generated by SRC activities are placed into the

Collaboration Account, from which both parties are reimbursed for any operating expenses and

compensated with any funds that remain, with SRC receiving 50% of any surplus.” See Answer

and Counterclaims, ¶ 12, Student Resource Center v. Eastern Gateway Community College, No.

22-cv-02653 (S.D. Ohio Sept. 12, 2022), ECF No. 24 (attaching contract). As a result of this

contractual arrangement, union-affiliated student enrollment at EGCC exploded from 5,500

enrollees before the Agreement “to upwards of 40,000 in fall semester 2021.” Student Resource

Center, 2022 WL 266730 at *1.

       Thus, as explained in a Letter from EGCC’s accreditation agency, Higher Learning

Commission (HLC)—in which the accreditor placed EGCC on probation for systemic violations—




                                                6
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 14 of 46 PAGEID #: 225




what began as a local community college serving four counties in Southern Ohio had by 2021

morphed into a nationwide online learning platform, with enrollment driven by a private consulting

business under a contractual arrangement with EGCC. See Letter from Barbara Gellman-Danley

to             Michael              Geoghegan,                Nov.              8,             2021,

https://www.hlcommission.org/download/_BoardActionLetters/HLC%20Action%20Letter%20-

%20Eastern%20Gateway%20Community%20College%2011.8.21.pdf (“HLC Probation Letter”)

(attached as Exhibit 2) (“The Institution has experienced significant enrollment growth over the

past four years, expanding from 8,530 students in fall 2017 to 38,613 students by fall 2020 . . .

Online enrollment constitutes approximately 90% of the student population according to

institutional reports.”) At least outwardly, these students’ enrollment and tuition costs were

“funded” by EGCC’s Free College Benefit program, which purported to provide “scholarships” to

cover the cost of tuition, fees, and books: for Pell Grant-eligible students, the program purported

to provide scholarship money to cover the delta between the overall costs of attendance and the

amount disbursed to the student through the Pell Program; for students that did not meet the

eligibility requirements under the Pell Program, a scholarship purportedly was made available to

cover the entire cost of attendance. See Pl.s’ Mot. Ex. 1; see also Compl. ¶ 14-15 (describing the

model as one in which “an entity” will pay “any tuition remaining . . . after a student’s existing

federal financial aid award is used” and “the remaining balance” on a student’s account after the

disbursement of grants and state aid “is covered by a last-dollar scholarship through tuition waivers

under the Program.”).

       However, as detailed infra Section I.C, a Department investigation and ongoing program

review found that EGCC was “merely waiving/writing off all non-Pell” grant charges (and grants

from state sources) “on student accounts, and falsely making it appear that the students are being




                                                 7
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 15 of 46 PAGEID #: 226




funded by outside entities.” Pl.’s Mot. Ex. 1, at 1. The outside entities that were purportedly the

source of the last-dollar scholarship program in fact “provide[d] virtually no funds,” id., in effect

creating a situation where Pell Grants were subsidizing the entire cost of the program and serving

as EGCC’s principal source of funding for all operational expenses. See Pl.’s Mot. Ex. A

(Geoghegan Decl. ¶ 14) (“Pell funds account for approximately 74.5% of EGCC’s overall

revenue.”); id. ¶ 35 (describing “Pell Grants and state subsidies” as “the primary sources of

EGCC’s funding”); Pl’s Mot. Ex. 6 at 2 (“Although EGCC maintains there is a scholarship being

applied, the Department has determined that there are virtually no funds being provided by any

sources outside of Title IV. Title IV funds are essentially funding the ‘free tuition’ for non-Title IV

students.”) (emphasis added). In essence, the expansion of union-affiliated student enrollment

allowed EGCC to draw on increased Pell Funds, which both subsidized non-Pell students (who

were not assessed any costs) and helped defray other costs and expenses, including presumably

payments to SRC, EGCC’s private consultant. However, as the Department concluded, “the Free

College Benefit [Program] put EGCC in a very precarious financial position because the funds

needed to actually educate students are severely limited forcing EGCC to drastically cut its

academic and operating expenses.” Pl.’s Mot. Ex. 1 at 2.

       On November 8, 2021, the Higher Learning Commission—EGCC’s accreditation

agency 2—placed EGCC on Probation for failure to comply with the applicable criteria for

accreditation. See Ex. 2 (HLC Letter). Among other deficiencies, HLC noted that the EGCC had



2 Under the HEA, one of the requirements of an eligible Institution of Higher Education is that it
be “accredited by a nationally recognized accrediting agency or association.” 20 U.S.C. §
1001(a)(5). The Department of Education’s primary role in the accreditation process is to
recognize an accrediting agency as a “reliable authority regarding the quality of education or
training offered” at qualifying IHE’s through the processes and conditions set forth in the HEA
and federal regulations. See 20 U.S.C. §1099b(a); 34 C.F.R. §602.1.


                                                  8
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 16 of 46 PAGEID #: 227




not demonstrated that it had the faculty and staff needed for effective, high-quality programs and

student services,” id. at 3; noted that “online enrollment [at EGCC] constitutes approximately 90%

of the student population according to institutional reports,” id. at 3-4; that “the ability for students

to receive adequate, timely advising has been uneven” and that “online students reported that no

placement tests are required [before] they meet with their academic advisors,” id. at 4; that “several

academic programs lack full-time faculty,” id. at 5; and that the “Institution has not conducted

ongoing, regular reviews of courses, cocurricular programs or general education outcomes.” Id. at

6. Further, HLC noted that “With the goal of 100,000 students by 2025, the Institution has not

used its substantial financial base to proactively develop a resource and deployment plan that

outlines a scalable model of services to support the expanding population. In several instances,

evaluation of and modifications to operations is lagging behind the rapid enrollment growth

pattern.” Id. at 8. The HLC Letter required that EGCC “host a comprehensive evaluation no later

than April 2023 to determine whether the Institution has ameliorated the findings that led to the

imposition of the sanction.” Id. at 1.

        C.      The Department of Education’s Program Review at EGCC and Subsequent
                Administrative Actions

        In February of 2022, the Department of Education began an off-site Program Review at

EGCC to evaluate the institution’s compliance with Title IV and to determine whether EGCC

students met the eligibility requirements under the Pell Grant program. This comprehensive

program review at EGCC is ongoing, but has thus far included an evaluation of the school’s

academic progress standards, general accounting practices, enrollment records (including the

school’s ability to track when students have left the program mid-semester and whether unused

Pell Funds for those students have been returned to the Department of Education as required),

training and qualifications of staff—including their training, experience, and familiarity with Tile



                                                   9
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 17 of 46 PAGEID #: 228




IV funding and payment practices—and whether certain employees of EGCC were simultaneously

on the payroll of EGCC’s private servicer. See Pl.’s Mot. Ex. 7 at 1.

       In the course of this program review the Department evaluated the structure and financing

model for the school’s Free College Benefit Program. The Department determined that EGCC was

writing off all tuition costs for non-Title IV-eligible students but collecting tuition payment in the

form of Pell Grants on behalf of students that were Title IV-eligible. The Department therefore

concluded that the structure of the Free College Benefit Program did not comply with Title IV’s

requirement that, when establishing tuition and fees for Title IV recipients, an institution must use

an amount that is “normally assessed a student carrying the same academic workload[.]” 20 U.S.C.

§§ 1087ll(1) (cost of attendance). Because the Free College Benefit Program was treating Title-IV

eligible students differently from other students—by charging them tuition in the form of Pell

Grants, rather than charging them nothing at all, as it was other students—the structure of the

program violated the Department’s “longstanding policy” which “prohibit[s] institutions from

assessing charges to a student receiving aid under the Title IV programs that are greater than what

is charged to a student not receiving such aid.” Pl.’s Mot. Ex. 6, at 1.

       In an effort to prevent EGCC from incurring additional liability or dealing with future

clawbacks of federal funds while the Department’s program review was continuing, the

Department communicated its view that the Free College Benefit Program violated Title IV on

July 18, 2022 (the cease-and-desist letter). The Letter summarized the Department’s initial

determination of EGCC’s program as follows:

       All students enrolled at EGCC under the Free College Benefit Program are charged
       for tuition, fees, and books. Students who receive Federal Pell Grant (Pell) funds
       have their Pell disbursements credited to their accounts to reduce total charges. The
       remainder of the charges are then reduced to zero by applying some form of
       “scholarship” to the remaining balance. If a student also received a state grant, the
       “scholarship” was applied after both Pell and the state grant funds. Students who



                                                 10
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 18 of 46 PAGEID #: 229




        do not receive Pell/state grant funds, have their entire tuition, fee and book charges
        reduced to zero. The notations on student ledger cards make it appear that there is
        truly a “scholarship” being funded by one of many outside entities. The Department
        has determined that outside entities provide virtually no funds. EGCC is merely
        waiving/writing off all non-Pell/state grant charges on student accounts, and falsely
        making it appear that the students are being funded by outside entities. Essentially,
        under this program, students who receive Pell funding are being charged for the
        program, but students not receiving Pell are not. This is in direct violation of the
        Higher Education Act of 1965, as amended, 20 U.S.C. 1070 et seq. (Title IV).

Pl.’s Mot. Ex. 1, at 1. The letter further explained that other allegedly comparable programs at

other schools that EGCC cited are “funded by an actual income source, whether it be from the

institution’s Foundation or the State, and those funds are used for qualifying students. In none of

the programs are charges for non-Title IV students written off entirely, resulting in Title IV

students being charged and non-Title IV students not, a result that is prohibited under the Title IV

Statute.” Id. at 2.

        Because the only tuition payments the school was receiving were in the form of Pell Grants

for the students who qualified for such aid, as the Department noted in subsequent correspondence

to EGCC, “Title IV funds are essentially funding the ‘free tuition’ for non-Title IV students.” Pl.’s

Mot. Ex. 6, at 2. Given the discrepancies in terms of which categories of students were being

assessed tuition charges and fees, the Department informed EGCC in the cease-and-desist letter

that, “as currently implemented[,]” the Free College Benefit Program “violates the Title IV

prohibition against assessing charges to Title IV recipients that are higher than those charges

assessed to non-Title IV recipients.” Pl.’s Mot., Ex. 1 at 1. The Department explained that “EGCC

must not disburse Pell funds to any new students enrolling the Free College Benefit Program until

it is redesigned to charge full tuition and fees to all non-Pell eligible students. To accomplish this,

“EGCC must cease waiving the tuition and fees for non-Pell students.” Pl.’s Mot., Ex. 1 at 2. The

Letter also indicates that “the Department will provide directives regarding currently enrolled




                                                  11
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 19 of 46 PAGEID #: 230




students shortly” and invited EGCC to assist with this process by providing additional

documentation. Id.

       On August 8, 2022, the Department informed EGCC that it had elected to transfer the

college from the Advance payment method for receiving Pell Grants to the Heightened Cash

Monitoring 2 (“HCM2”) method of payment effective that same day. See Pl.’s Mot., Ex. 7. As the

Department explained to EGCC in that letter, “[i]n addition to the issues previously raised

regarding the financing model of the Free College Benefit Program, the Department has identified

other concerns that call into question EGCC’s ability to properly administer the Title IV programs

and its ability to act in the capacity of a fiduciary.” Id. at 1. Specifically, the Department noted

that EGCC appeared to be “unable to reconcile its Title IV drawdowns to individual student

accounts for the period under review, meaning that the school cannot properly document that

specific students were the beneficiaries of Title IV assistance received by the institution;” that the

school’s “general accounting records contain serious discrepancies;” that “EGCC has inadequate

internal controls, including employees in key roles who were being paid by both the institution

and its servicer, an unusually high turnover of staff, and a clear lack of training and/or experience

of individuals involved in various Title IV functions”; and finally that “inconsistencies in the data

and documents provided to the Department have raised concerns regarding EGCC’s compliance

with Title IV student eligibility requirements, satisfactory academic progress standards, and Title

IV return requirements.” Id.

       The August 8th letter made clear that under the HCM2 payment method, “EGCC may

continue to obligate funds under the federal student financial assistance programs authorized by

Title IV of the Higher Education Act of 1965, as amended. EGCC may disburse institutional funds

to eligible students. If EGCC disburses institutional funds, the U.S. Department of Education




                                                 12
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 20 of 46 PAGEID #: 231




(Department) will reimburse it for properly documented expenditures.” Id. at 2. The letter attached

a detailed set of “Instructions for Obtaining Funds Under Heightened Cash Monitoring (HCM2)

Method of Payment.” Id. at 4-12. Thus far, the Department has not received a specific response

to this letter, nor has EGCC taken any apparent steps to provide the required documentation for

HCM2 or to establish the necessary internal processes for doing so.

       On August 10, 2022, the Department requested that EGCC enter into discussions with other

academic institutions to establish a “teach-out agreement” whereby, if EGCC were forced to shut

down operations, its students would be able to quickly resume their course load at another

institution. Pl.’s Mot., Ex. 8. While recognizing that HLC had already requested that EGCC enter

into a teach-out plan as part of its probation sanction, see id., the Department conveyed its views

to EGCC that a teach-out agreement with other schools would be “in the best interests of students”

given “the ongoing issues regarding funding of the Free College Benefit Program, the

Department’s transfer of Eastern Gateway Community College (EGCC) to the Heightened Cash

Monitoring 2 (HCM2) method of payment, and the probation action initiated by the institution’s

accreditor.” 3 Id. The Department requested that EGCC provide a teach-out agreement within 30

days (by September 10), which it has not yet received as of the date of this filing.




3 A teach-out plan is “[a] written plan developed by an institution that provides for the equitable
treatment of students if an institution, or an institutional location that provides 100 percent of at
least one program, ceases to operate or plans to cease operations before all enrolled students have
completed their program of study.” See 34 C.F.R. § 600.2. A teach-out agreement, by contrast,
is “[a] written agreement between institutions that provides for the equitable treatment of students
and a reasonable opportunity for students to complete their program of study if an institution, or
an institutional location that provides 100 percent of at least one program offered, ceases to operate
or plans to cease operations before all enrolled students have completed their program of study.”
Id.


                                                 13
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 21 of 46 PAGEID #: 232




       D.      This Litigation

       Despite the ongoing program review and dialogue between the parties, EGCC filed the

instant lawsuit on September 2, 2022. See Compl., ECF No. 1. The Complaint alleges that the

Department’s cease-and-desist letter and “subsequent enforcement actions” were issued in

violation of the Administrative Procedure Act, and that the Department’s actions violated EGCC’s

rights to due process under the APA and the Constitution. The Complaint seeks declaratory and

injunctive relief, including an order setting aside the cease-and-desist letter.

       EGCC filed the instant Motion for Preliminary Injunction (“Pl.’s Mot.”) on September 6,

2022. See ECF No. 4. The Motion seeks a Preliminary Injunction “enjoining DOE from enforcing

its Cease-and-Desist Letter and its subsequent enforcement actions derived from the Cease-and-

Desist Letter, including but not limited to EGCC’s placement on HCM2 status and DOE’s demand

that EGCC enter into a teach-out agreement.” Pl.’s Mot. at 2.

                                        STANDARD OF REVIEW

        Federal Rule of Civil Procedure 12(b)(1) requires dismissal if the court lacks subject matter

jurisdiction. “[F]ederal courts are courts of limited jurisdiction,” United States v. Glover, 242 F.3d

333, 335 (6th Cir. 2001), and “‘it is to be presumed that a cause lies outside this limited

jurisdiction[.]’” Metro Hydroelec. Co., LLC v. Metro Parks, 541 F.3d 605, 610 (6th Cir. 2008)

(citation omitted). “For the purpose of determining whether to grant a motion to dismiss made

pursuant to a claim of lack of jurisdiction, [p]laintiffs bear the burden of proving jurisdiction.”

Aarti Hosp., LLC v. City of Grove City, 486 F. Supp. 2d 696, 698 (S.D. Ohio 2007). Rule 12(b)(1)

motions to dismiss for lack of subject-matter jurisdiction “fall into two general categories: facial

attacks and factual attacks.” United States v. Ritchie, 15 F.3d 592, 598 (6th Cir. 1994). “A facial

attack is a challenge to the sufficiency of the pleading itself,” whereas “[a] factual attack challenges

‘the factual existence of subject matter jurisdiction.’” Id.


                                                  14
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 22 of 46 PAGEID #: 233




       Here, Defendants advance both challenges. First, Defendants bring a facial challenge to

EGCC’s Complaint insofar as it alleges harm from EGCC’s placement on HCM2, which is

committed to agency discretion by law and thus not reviewable under the APA. Second,

Defendants bring a factual challenge to EGCC’s standing to challenge the Department’s position

as articulated in the July 18 letter. In both cases, when evaluating a defendant’s Rule 12(b)(1)

motion, one thing remains true: “conclusory allegations or legal conclusions masquerading as

factual conclusions will not suffice” to defeat it. O’Bryan v. Holy See, 556 F.3d 361, 376 (6th Cir.

2009) (citing Mezibov v. Allen, 411 F.3d 712, 716 (6th Cir. 2005)); accord Rote v. Zel Custom

Mfg. LLC, 816 F.3d 383, 387 (6th Cir. 2016).

       “A preliminary injunction is an extraordinary and drastic remedy” that should “never be

awarded as of right.” Munaf v. Geren, 553 U.S. 674, 689–90 (2008) (citation omitted); see also

Leary v. Daeschner, 228 F.3d 729, 739 (6th Cir. 2000) (“[T]he preliminary injunction is an

extraordinary remedy involving the exercise of a very far-reaching power, which is to be applied

only in the limited circumstances which clearly demand it.”) (citation omitted). A plaintiff may

obtain this “extraordinary remedy” only “upon a clear showing” that it is “entitled to such relief.”

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). In determining whether a preliminary

injunction is warranted, the Court considers four factors: “(1) whether the movant has a strong

likelihood of success on the merits; (2) whether the movant would suffer irreparable injury without

the injunction; (3) whether issuance of the injunction would cause substantial harm to others; and

(4) whether the public interest would be served by the issuance of the injunction.” Ne. Ohio Coal.

for the Homeless v. Husted, 696 F.3d 580, 590–91 (6th Cir. 2012). While a strong likelihood of

success is crucial, all four factors must be balanced rather than treated as prerequisites. See

McPherson v. Mich. High Sch. Athletic Ass’n, Inc., 119 F.3d 453, 459 (6th Cir. 1997). Irreparable




                                                15
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 23 of 46 PAGEID #: 234




harm also is of great importance: “Our frequently reiterated standard requires plaintiffs seeking

preliminary relief to demonstrate that irreparable injury is likely in the absence of an

injunction.” Winter, 555 U.S. at 22.

                                            ARGUMENT

       The Court should dismiss EGCC’s claims for lack of subject matter jurisdiction under Rule

12(b)(1). Should the Court conclude that it has jurisdiction, EGCC’s Motion for Preliminary

Injunction should be denied.

I.     THIS COURT LACKS SUBJECT MATTER JURISDICTION OVER EGCC’S
       CLAIMS

       “The objection that a federal court lacks subject-matter jurisdiction, see Fed. Rule Civ.

Proc. 12(b)(1), may be raised by a party, or by a court on its own initiative, at any stage in the

litigation.” Arbaugh v. Y&H Corp., 546 U.S. 500, 506–07 (2006). Moreover, “[w]henever it

appears by suggestion of the parties or otherwise that the court lacks jurisdiction of the subject

matter, the court shall dismiss the action.” See Kontrick v. Ryan, 540 U.S. 443, 455 (2004).

“Without a     statutory waiver        of   the   United   States’   sovereign   immunity, subject-

matter jurisdiction cannot obtain.” Gaetano v. United States, 994 F.3d 501, 503 (6th Cir. 2021);

see also LaMarca v. United States, 34 F. Supp. 3d 796, 804 (N.D. Ohio 2014) (“The sovereign

immunity of the United States extends to federal agencies, which are immune from suit absent a

waiver of sovereign immunity.”) (citing Whittle v. U.S., 7 F.3d 1259, 1262 (6th Cir. 1993)).

       Additionally, EGCC cannot invoke the jurisdiction of the Court unless it “can show ‘a

personal stake in the outcome of the controversy.’” Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018)

(quoting Baker v. Carr, 369 U.S. 186, 204 (1962)). See also Phillips v. DeWine, 841 F.3d 405,

414 (6th Cir. 2016) (“Article III, Section 2 of the Constitution provides that federal courts may

hear and resolve only ‘Cases’ and ‘Controversies.’ As a result, ‘a plaintiff must demonstrate



                                                  16
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 24 of 46 PAGEID #: 235




standing for each claim he seeks to press.’”) (cleaned up). At its “irreducible constitutional

minimum,” the standing doctrine requires satisfaction of three elements: (1) a concrete and

particularized injury-in-fact, either actual or imminent, (2) a causal connection between the injury

and defendant’s challenged conduct, and (3) a likelihood that the injury suffered will be redressed

by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). “The party invoking

federal jurisdiction bears the burden of establishing these elements.” Id. at 561.

       Here, the Court lacks jurisdiction over EGCC’s claims because HCM2 status is committed

to agency discretion by law, and because EGCC cannot demonstrate that it can comply with the

requirements of HCM2, the college could not access Pell Grant funds for its students even if the

cease-and-desist letter were withdrawn, meaning that injunctive relief against that letter would not

redress EGCC’s alleged injuries.

       A.      Heightened Cash Monitoring Status is Committed to Agency Discretion by
               Law, Precluding Review Under the APA.

       The waiver of sovereign immunity in Section 702 of the APA does not apply, and thus

courts lack jurisdiction to hear an APA claim, where “agency action is committed to agency

discretion by law.” 5 U.S.C. § 701(a)(2). An agency decision is committed to its “discretion,” and

is therefore unreviewable, “where the relevant statute ‘is drawn so that a court would have no

meaningful standard against which to judge the agency’s exercise of discretion.’” Lincoln v. Vigil,

508 U.S. 182, 191 (1993) (quoting Webster v. Doe, 486 U.S. 592, 599–600 (1988)). Such

circumstances may arise where the agency’s decision “involves a complicated balancing of a

number of factors which are peculiarly within its expertise.” Heckler v. Chaney, 470 U.S. 821

(1985).

       Here, the decision whether to place an eligible Institution of Higher Education on the

heightened cash monitoring payment method is entirely within the discretion of the Secretary, and



                                                17
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 25 of 46 PAGEID #: 236




thus the Court lacks jurisdiction over EGCC’s claims insofar as they challenge that decision. See

Compl. ¶ 52 (Count I, § 702 APA claim challenging “subsequent enforcement actions, including

the HCM2 status”); id. ¶ 70 (Count II, § 706 APA claim, seeking injunction against “the HCM2

status”); id. ¶ 88 (Count III, arbitrary-and-capricious claim addressing inter alia “the HCM2

status”); id. ¶¶ 96, 113 (Counts IV and V, APA and Constitutional due process claims specifically

mentioning HCM2 status as a basis for harm). The HEA provides that “Payments pursuant to

grants or contracts under any applicable program may be made in installments, and in advance or

by way of reimbursement, with necessary adjustments on account of overpayments or

underpayments, as the Secretary may determine.” See 20 U.S.C. § 1226a-1 (emphasis added).

The HEA implementing regulations, which EGCC does not challenge in this action, provide that

“[t]he Secretary has sole discretion to determine the method under which the Secretary provides

title IV, HEA program funds to an institution. In accordance with procedures established by the

Secretary, the Secretary may provide funds to an institution under the advance payment method,

reimbursement payment method, or heightened cash monitoring payment method.” 34 C.F.R.

§ 668.162(a). Under Heightened Cash Monitoring, “an institution must credit a student’s ledger

account for the amount of title IV, HEA program funds that the student or parent is eligible to

receive, and pay the amount of any credit balance due under § 668.164(h), before the institution

. . . submits a request for funds.” See 34 C.F.R. § 668.162 (d). The Secretary further has discretion

to “modify the documentation requirements and review procedures used to approve” the request.

Id. See also Pl.’s Mot., Ex. A (Geoghegan Decl. ¶ 27) (“HCM2 requires EGCC to disburse

institutional funds to Pell-eligible students prior to requesting and receiving reimbursement from

the DOE. As such, EGCC must have institutional funding available to cover initial disbursements




                                                18
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 26 of 46 PAGEID #: 237




to the students enrolled in the Program while it waits for DOE’s review and approval of any Pell

Grant funds.”) (emphasis added).

       Consistent with this clear statutory language, courts have found that the Secretary’s

decision to place a particular institution on Heightened Case Monitoring status (or to assign the

institution to another cash payment program) is discretionary. See Int’l Jr. Coll. of Bus. & Tech.,

Inc. v. Duncan, 802 F.3d 99, 114 n. 22 (1st Cir. 2015) (“We note, however, that the DOE has

discretion regarding when to place institutions on Heightened Cash Monitoring”); Instituto de

Educacion Universal Corp. v. Riley, 973 F. Supp. 95, 97 (D.P.R. 1997) (“It is within the

Department’s discretion to determine the method of providing funds to eligible institutions.”);

Bowling Green Jr. Coll. v. U.S. Dep’t of Educ., 687 F. Supp. 293, 297 (W.D. Ky. 1988) (“Title 20

U.S.C. § 1226a–1 of the General Education Provisions Act clearly grants the Secretary discretion

in determining the method of payment. The Secretary is given wide authority in construing the

Act’s provisions and promulgating regulations thereunder.”). In light of the clear statutory and

regulatory language, and the common-sense conclusion that overseeing payment and

reimbursement structures for federal educational aid programs “involves a complicated balancing

of a number of factors” which is “peculiarly within [the Department of Education’s] expertise,”

Heckler, 470 U.S. at 821, the statute and regulations here “can be taken to have ‘committed’ the

decisionmaking to the agency’s judgment absolutely.” Id. at 830 (citation omitted). Nor would

courts have any “meaningful standard against which to judge the agency’s exercise of discretion”

over Title IV payment structures. See Vigil, 508 U.S. at 191.

       Because the decision to place an institution on Heightened Cash Monitoring is committed

to agency discretion by law, EGCC cannot challenge that decision under the APA, and the Court

therefore lacks jurisdiction to review that component of EGCC’s claim.




                                                19
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 27 of 46 PAGEID #: 238




       B.      Because EGCC Has Not Submitted a Request for Reimbursement Under
               HCM2 and Because Serious Doubts Exist as to Whether EGCC Can Meet the
               HCM2 Requirements, it is Speculative That Declaratory or Injunctive Relief
               Against the Cease-and-Desist Letter Would Redress EGCC’s Alleged Injuries.

       The school’s placement on HCM2 payment status is relevant for a second reason with

respect to the Court’s jurisdiction, one that disposes of the whole case. EGCC would have to meet

the HCM2 requirements in order to receive Pell Grant funds for its students, which EGCC claims

the cease-and-desist letter prevents it from obtaining. Injunctive relief setting aside the cease-and-

desist letter would therefore only redress EGCC’s claimed injuries if EGCC could meet the HCM2

requirements such that it could access Pell funds to begin with. In other words, only by utilizing

the HCM2 payment system could EGCC draw down federal Pell Funds. But EGCC has not

submitted a claim for reimbursement through the HCM2 process, see Ex. 1 (Early Decl. ¶ 6), and

given the serious issues identified in the Department’s program review with respect to data

integrity and record-keeping, it is entirely speculative—and EGCC has not even alleged—that it

could comply with HCM2. Therefore, injunctive relief against the cease-and-desist letter would

not redress EGCC’s injuries because it is speculative whether it could access the funds it claims to

need and which it claims the letter prevents it from obtaining. “In a nutshell, the redressability

requirement obliges a plaintiff fairly to allege that it is ‘likely, as opposed to merely speculative,

that the injury will be redressed by a favorable decision.’” Glennborough Homeowners Ass’n v.

United States Postal Serv., 21 F.4th 410, 417 (6th Cir. 2021) (quoting Defs. of Wildlife, 504 U.S.

at 560). Simply put, “[r]elief that does not remedy the injury suffered cannot bootstrap a plaintiff

into federal court.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 107 (1998).

       Here, as a factual matter, EGCC does not even allege in its Complaint that it has systems

in place to meet the HCM2 requirement, and the college’s precarious financial position and poor

system of records renders it unlikely that they could meet the heightened monitoring obligations



                                                 20
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 28 of 46 PAGEID #: 239




as a practical matter. As EGCC itself notes, HCM2 requires that “EGCC must have institutional

funding available to cover initial disbursements to the students enrolled in the Program while it

waits for DOE’s review and approval of any Pell Grant funds.” Pl.’s Mot., Ex. A (Geoghegan Decl.

¶ 27). EGCC has not responded to the Department’s HCM2 letter and does not allege in its Motion

or Complaint that it has the institutional systems and personnel in place—nor the cash on hand to

cover credit balance payments prior to submitting requests for reimbursement—to meet the

heightened reporting and other requirements of HCM2.

       As further documented by the Declaration of Dr. Jeremy Early, the ongoing program

review at EGCC has shown that EGCC lacks basic bookkeeping and record-keeping systems for

financial management and tracking student enrollment and progress. For example, “the

Department has an overall concern regarding the integrity of the data provided by the institution

and the institution’s inability to reconcile its records to establish a clear audit trail for the

disbursement of Title IV funds.” Ex. 1 (Early Decl. ¶ 8). EGGC’s Learning Management System

(LMS) has not been updated to reflect whether students who were enrolled actually completed

their course of study: “Although some students had grades on their transcripts for specific classes,

there is no academic activity, such as assignments or quizzes, in the LMS system to show the

students ever began attendance. Despite these facts, Title IV funds were paid for the classes.” Id.

¶ 9(c). When students receiving Title IV funding did not complete a semester for which Title IV

funds had been dispersed, EGCC was unable to provide adequate documentation that they had

returned unused funds to the Department. Id. ¶ 9(d). As the Department explained in its August

8th letter, EGCC “is unable to reconcile its Title IV drawdowns to individual student accounts

. . . meaning that the school cannot properly document” which “specific students were the

beneficiaries of Title IV assistance” and which were not. Pl.’s Mot., Ex. 7. If that weren’t enough,




                                                21
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 29 of 46 PAGEID #: 240




HCM2 requires that credit balances be paid prior to requesting reimbursement; however, “[t]he

Department has established that Eastern Gateway was not paying credit balances timely, and there

are still identified outstanding credit balances that have not been paid.” Ex. 1 (Early Decl. ¶¶ 12-

13).

       In short, even were the Court to order injunctive or declaratory relief from the cease-and-

desist letter and find a procedural or substantive APA violation, such relief in all likelihood “would

leave plaintiff in exactly the same . . . position,” WTGD 105.1 FM v. SoundExchange, Inc., No.

5:14-CV-00015, 2014 WL 12819789, at *12 (W.D. Va. Sept. 12, 2014), meaning that it would not

have redressed the injury alleged in the complaint. See Glennborough Homeowners, 21 F.4th at

417 (noting that plaintiff’s “standing problem remains in that” the relief sought “would do nothing

to redress the only injuries cited in its complaint.”); S. Walk at Broadlands Homeowner’s Ass’n,

Inc. v. OpenBand at Broadlands, LLC, 713 F.3d 175, 183 (4th Cir. 2013) (finding that the plaintiffs

could not show “redressability” because they would be injured “regardless of the outcome” in their

declaratory judgment action).

       Because it is speculative whether EGCC can comply with HCM2—and because EGCC has

not made any apparent effort to do so, nor submitted a request for reimbursement—the Court

cannot order relief that will redress EGCC’s injuries. EGCC therefore lacks standing, and the case

should be dismissed.

II.    EGCC IS NOT LIKELY TO SUCCEED ON THE MERITS

       Assuming the Court has jurisdiction, EGCC is unlikely to succeed on the merits of its

claims, and the Court should deny its Motion for Preliminary Injunction.




                                                 22
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 30 of 46 PAGEID #: 241




       A.      The Cease-and-Desist Letter Is Not Final Agency Action As Required to
               State a Claim Under the APA.

       As an initial matter, EGCC’s APA claims fail because the cease-and-desist letter does not

reflect “final agency action,” 5 U.S.C. § 704, which is any agency action that is (1) “the

consummation of the agency’s decisionmaking process” and that (2) also determines “rights or

obligations.” Bennett v. Spear, 520 U.S. 154, 178 (1997). Agency action that is “merely tentative

or interlocutory in nature” is not final agency action. Id. at 177-78. Here, the cease-and-desist

letter is interlocutory in character—particularly against the backdrop of the broader program

review at EGCC—and therefore is not final agency action under the APA, which necessarily

defeats EGCC’s claims.

       LaMarca v. United States, 34 F. Supp. 3d 796 (N.D. Ohio 2014), is instructive. In that

case, the Department of Education determined that two vocational schools receiving Title IV

funding for their students “owed Pell Grant refunds to the DOE for students who dropped out

before completing their coursework or who were later determined ineligible for Pell Grant

assistance.” Id. at 798. The Department responded by placing the schools “on a reimbursement

format,” id. at 799, and then the Department “issued its Preliminary Program Review (PPR) for

the inspection of the Schools conducted by the DOE earlier in June 2003.” Id. Most importantly,

the preliminary review “advised that Schools that until there was an accounting of refunds owed

to the DOE, the Schools were not eligible for Title IV monies.” Id. at 801. Both of these action—

placing the schools on the Reimbursement format and issuing a preliminary program review—

appear to have been taken without formal notice and an opportunity to be heard.

       The District Court held that this intermediate step—even though it communicated to the

school that it could not access Pell Grant funds—was not final agency action. Instead, it was only

when the Department issued its Final Program Review that the agency’s order could be challenged



                                               23
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 31 of 46 PAGEID #: 242




under the APA. See id. at 804 (“In this case under the HEA’s statutory scheme, after plaintiffs

respond to      the   PPR    and    the   DOE     issues   a Final Program Review Determination,

that final agency action is subject to judicial review pursuant to the procedures provided in 34

C.F.R. pt. 668, subpt. H; see 34 C.F.R. §§ 668.111–24.”). In so ruling, the court noted that until

the issuance of the Final Program Review, “there is an administrative process available to resolve

these issues.” Id. at 800. Other courts have reached similar conclusions. See, e.g., St. Catharine

Coll., Inc. v. King, No. 3:16-CV-00113-GNS, 2017 WL 1097205, at *3 (W.D. Ky. Mar. 22, 2017)

(no final agency action because DOE was still conducting cite visits at college and “had not issued”

a program review report, and holding that “[w]hen the DOE issues a final program review

determination, that final agency action will be subject to judicial review pursuant to 34 C.F.R. §§

668.111-668.124.”).

       The same result follows here. Because the administrative program review is ongoing, the

Department’s July 18, 2022 letter cannot be said to be DOE’s “last word” on the subject “[s]hort

of an enforcement action,” Allsteel, Inc. v. U.S. E.P.A., 25 F.3d 312, 315 (6th Cir. 1994), where a

Final Program Review report has yet to be issued to EGCC.

       American Bar Association v. Department of Education, 370 F.Supp.3d 1 (D.D.C. 2019)—

relied upon by EGCC, see Pl.’s Mot. at 6-7—is not to the contrary. In that case, the Department

of Education sent denial-of-benefit letters directly to borrowers that the Department had

determined were not eligible for the Public Service Loan Forgiveness Program because they were

not working for qualifying employers. The District Court found that, “upon sending the denial

letters to the Individual Plaintiffs, the Department had completed its determination that their

employment and the loan payments at issue did not qualify.” Id. at 20. Here, by contrast, EGCC’s

eligibility to participate in the Pell Grant program was not categorically barred by the Department’s




                                                 24
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 32 of 46 PAGEID #: 243




action: the Department explained that EGCC students that were not part of the Free College Benefit

Program could continue to receive Pell Funds even without any revisions to the Free College

Benefit Program. See Ex. 3. Moreover, the language in the case-and-desist letter is not as

categorical as EGCC suggests (and as the communications to the Individual Plaintiffs in American

Bar Association appear to have been). Rather than suggest that EGCC could never expect to access

Title IV funds for its students, the letter stated only that “EGCC must not disburse Pell funds to

any new students enrolling in the Free College Benefit Program until it is redesigned to charge

full tuition and fees to all non-Pell eligible students.” Pl’s. Mot., Ex. 1 at 2 (emphasis added).

       Moreover, as the district court observed in American Bar Association, when applying “the

first Bennett prong, courts also look to ‘the way in which the agency subsequently treats the

challenged action.’” Am. Bar Ass’n, 370 F. Supp. 3d at 20 (quoting Sw. Airlines Co. v. U.S. Dep’t

of Transp., 832 F.3d 270, 275 (D.C. Cir. 2016)). In American Bar Association, there was no

opportunity for the individual plaintiffs to submit additional documentation regarding their

employment status and alleged eligibility for the PSLF program: “[a]fter the Department issued

the denial letters, the Individual Plaintiffs did not receive any additional communication from the

Department suggesting that the letters were tentative or interlocutory.” Id. at 21.

       Here, the very opposite has occurred. The challenged letter itself notes that the program

can be “redesigned” to bring it into compliance with Title IV, and notes that, “to accomplish this,

EGCC must cease waiving the tuition and fees for non-Pell students.” Pl’s Mot., Ex. 1 at 2. Far

from announcing a final verdict on EGCC’s ability to access Title IV funds for Pell-eligible

students under the Free College Benefit Program, the letter informs EGCC of precisely how they

can continue to operate the program: assess costs of attendance equally among the two categories

of students, as Title IV requires. Moreover, the letter indicates that “the Department will provide




                                                 25
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 33 of 46 PAGEID #: 244




directives regarding currently enrolled students shortly” and invites EGCC to assist with this

process by providing additional documentation.” Id.

        The parties have continued to engage fruitfully on a path forward. For example, on August

5, 2022—in response to a series of questions that EGCC sent to the Department—the Department

suggested in a response letter that “[t]o remedy the situation, EGCC could seek funding from

outside sources including third party grants or endowments.” Pl.’s Mot., Ex. 6 at 2. EGCC

followed up on August 10, 2022 with a proposal to have an outside foundation provide funding

for the last-dollar scholarship program. See Compl. ¶ 39. The Department is formulating a

response to this proposal and expects to provide that response in the near future. This is a far cry

from the sort of finality encountered by the court in American Bar Association.

        B.      The Department’s Position in the Cease-and-Desist Letter Does Not Constitute
                a Limitation, Suspension, or Termination Under 20 U.S.C. § 1094(c)(1)(F) and
                the Applicable Regulations.

        Even assuming the Department’s July 18, 2022 letter constituted final agency action—and

it plainly does not—EGCC’s argument that the Department has exceeded its statutory authority by

sending the July 18th letter, see Pl.’s Mot. at 10-13, flows from a misreading of the statute and

regulations   and    is   correspondingly without        merit.       EGCC      invokes 20      U.S.C.

§ 1094(c)(1)(F), which provides that “the Secretary shall prescribe such regulations as may be

necessary to provide for . . . the limitation, suspension, or termination of the participation in any

program under this subchapter of an eligible institution, or the imposition of a civil penalty under

paragraph (3)(B) whenever the Secretary has determined, after reasonable notice and opportunity

for hearing, that such institution has violated or failed to carry out any provision of this subchapter,

any regulation prescribed under this subchapter.” EGCC characterizes the Department’s July 18

letter as a limitation proceeding which 1) should have been accompanied by an advance notice and




                                                  26
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 34 of 46 PAGEID #: 245




opportunity for a hearing under § 1094(c)(1)(F), and 2) needed to comply with the procedural

requirements for limitation proceedings further spelled out in the implementing regulations, see

34 C.F.R. § 668.86(b). See generally Pl.s’ Mot. at 10-13. Neither argument has merit.

                1.      The Cease-and-Desist Letter is Not a “Limitation” and the
                        Department’s Actions Were Consistent with the HEA and Regulations.

        The Department’s letter does not limit the ability of EGCC to participate in federal student

aid programs, nor does it purport to suspend or terminate the program participation agreement.

Instead, the letter announces the Department’s view that, as currently constituted, the Free College

Benefit Program offered by EGCC requires Pell Grant recipients to foot the bill for the non-Title

IV eligible students, in violation of Title IV. Therefore, the students receiving Pell Grants under

the program were not eligible to receive such grants, and, as stated in the letter “EGCC must not

disburse Pell funds to any new students enrolling in the Free College Benefit Program until it is

redesigned to charge full tuition and fees to all non-Pell eligible students.” Pl.’s Mot., Ex. 1 at 2.

Thus, while the letter does express the Department’s views on the structure of a program designed

and supervised by EGCC, the “limitation” contained in the letter—such as it is—is on the eligibility

of certain students to receive Pell Grants, not on the ability of the institution to participate in Title

IV. See Pl.’s Mot. Ex. 4 to EGCC’s appeal (describing July 18th letter as “a cease and desist letter

regarding the institution’s disbursement of Title IV funds to ineligible students.”); cf. Bowling

Green Jr. Coll. v. U.S. Dep’t of Educ., 687 F. Supp. 293, 297 (W.D. Ky. 1988) (“However, the

actions of the Department did not interfere with [the institution’s] entitlement to participate in the

programs; it only altered the method of payment. The College has no property right to the funds

as it acts only as a fiduciary in dispersing the funds to its eligible students.”) (emphasis added).

        The regulations further contain examples of the sorts of administrative actions that may

constitute a “limitation” on a program’s ability to participate in federal student aid programs, which



                                                  27
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 35 of 46 PAGEID #: 246




further make clear that a determination of student eligibility for particular grants or aid programs—

like the type here—does not constitute a “limitation” on EGCC’s participation in Title IV

programs. The regulations provide the following examples of what constitutes a “limitation”:

        (a) A limit on the number or percentage of students enrolled in an institution who
        may receive Title IV, HEA program funds;

        (b) A limit, for a stated period of time, on the percentage of an institution's total
        receipts from tuition and fees derived from Title IV, HEA program funds;

        ***

        (g) A requirement that an institution obtain surety, in a specified amount, to assure
        its ability to meet its financial obligations to students who receive Title IV, HEA
        program funds;

        (h) A change in the participation status of the institution from fully certified to
        participate to provisionally certified to participate under § 668.13(c).

34 C.F.R. § 668.94 (omitting examples dealing with third-party servicers). The Department’s

letter here does not purport to set a limit on the number or “percentage” of enrollees at EGCC who

may be Pell-eligible; it does not impose a cap on total receipts from tuition or fees from Pell grants;

it does not impose surety or other financial obligations on the college; and it does not change the

school’s certification. The regulations therefore further suggest that a determination of student

eligibility (or ineligibility) for Pell funds is not considered a limitation.

        Because the issuance of the cease-and-desist letter concerns EGCC’s disbursement of Title

IV funds to ineligible students—rather than the ability of EGCC to participate in Title IV programs

generally—it is not a limitation aimed at EGCC in a manner contemplated by the plain text of the

statute or regulations. 4 Moreover, there is no merit to Plaintiff’s argument, see Pl.’s Mot. at 13,


4Should the court harbor any doubt on this issue, the agency’s interpretation of its regulations—
and the definition of “limitation”—would be entitled to deference under established principles of
administrative law. An agency’s interpretation of its regulations is “is “controlling unless plainly
erroneous or inconsistent with the regulation.” Auer v. Robbins, 519 U.S. 452, 461 (1997); see also
                                                                          (footnote continued on next page)


                                                   28
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 36 of 46 PAGEID #: 247




that cease-and-desist letters are not authorized under the HEA or regulations. The Secretary is

tasked with “ensuring the integrity of the Federal student financial assistance programs authorized

under subchapter IV,” 20 U.S.C.A. § 1018(b)(2)(a)(vi), and there is nothing in the statute

preventing the Secretary from employing cease-and-desist letters as an interim step that alerts

institutions when potential violations have been found, allowing them to avoid incurring additional

liability while the Department finishes its program review.

               2.     Subsequent Dealings Between the Parties Reinforce that EGCC Has
                      Not Suffered a Limitation on its Ability to Participate in the Pell Grant
                      Program.

       Practical considerations and the course of dealing between the parties further reinforce that

EGCC has not suffered an institutional limitation on its ability to participate in the Pell Grant

program. On July 27, 2022, Dr. Early wrote to Mr. Geoghegan and emphasized that “Students

enrolled outside of the Free College Benefits Program are also eligible for Title IV funding, so

long as the Title IV students and non-Title IV students are charged the same amount for tuition.”

See Exhibit 3. In other words, EGCC was free to continue to access Title IV funds for its students

(including local Ohio residents) who were “enrolled” in EGCC “outside of the” nationwide Free

College Benefit Program because the eligibility of those students to receive Pell Funds was not




Kisor v. Wilkie, 139 S. Ct. 2400, 2412 (2019) (“We have explained Auer deference (as we now
call it) as rooted in a presumption about congressional intent—a presumption that Congress would
generally want the agency to play the primary role in resolving regulatory ambiguities.”). Such
deference is particularly appropriate in specialized regulatory fields where the agency’s expertise
warrants a special role in interpreting prior regulations. See Thomas Jefferson Univ. v. Shalala,
512 U.S. 504, 512 (1994) (“This broad deference is all the more warranted when . . . the regulation
concerns a complex and highly technical regulatory program.”). Moreover, this “deference does
not depend on the agency crystallizing its construction through formal rulemaking or
adjudication, see Spectrum Health Continuing Care Group v. Anna Marie Bowling Irrecoverable
Trust, 410 F.3d 304, 319 (6th Cir. 2005). Here, the Department has repeatedly taken the position
in correspondence to EGCC that the cease-and-desist letter was not a limitation. See Pl.’s Mot.,
Ex. 4, Ex. 6.


                                                29
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 37 of 46 PAGEID #: 248




(thus far) called in to question by the Department’s program review and by the cease-and-desist

letter (emphasis added).

        Moreover, in the July 27th email, Dr. Early stated that “the Department can confirm that

the students who were accepted for enrollment in the Free College Benefits Program prior to the

date of the cease-and-desist letter can be awarded Title IV aid for the Fall semester.” Ex. 3. That

position was reiterated and expanded two days later in further correspondence to include students

who had not yet registered for Fall classes as of the date of the cease-and-desist letter. See Pl.’s

Mot., Ex. 5 (“The Department has received questions regarding students who had been attending

the Free Benefit Program at Eastern Gateway Community College for the Spring and/or Summer

sessions, but had not registered for classes by the date of the cease-and-desist letter (July 18, 2022).

This email is to confirm that these students may receive Title IV aid for the Fall 2022 semester.”).

EGCC students were thus able to access Pell Grants as before the cease-and-desist letter—and the

school was able to continue its usual Fall semester operations—while negotiations toward a

redesign of the program continued, further undermining any claim on the part of EGCC to have

suffered a “limitation” on its ability to participate in any Title IV program.

        Those negotiations are ongoing. As EGCC alleges, on August 10, 2022, it sent the

Department “a proposed redesign of the Program in which the last-dollar scholarships would be

funded through the EGCC Foundation, a distinct 503(c)(4) non-profit entity.” Compl. ¶ 39. The

Department expects to respond to that letter with detailed feedback in the near future. It is simply

not persuasive to characterize the Department’s actions as imposing a limitation on EGCC’s ability

to participate in Title IV.

        C.      EGCC Mischaracterizes the Nature of the Department’s Teachout Request,
                Which is Not Mandatory And Thus Not Subject to Section 1094.

        EGCC also suggests, without basis, that the Department “required” the college to enter into



                                                  30
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 38 of 46 PAGEID #: 249




a teach-out agreement, and that this request will have the practical effect of forcing its students to

transfer to other institutions. See Compl. ¶ 40 (alleging that on August 10, “EGCC received

additional correspondence from DOE requiring EGCC to propose and then enter into a teach-out

agreement within thirty (30) days” and that “The teach-out agreement will effectively require

EGCC students, including but not limited to students enrolled in the Program prior to July 18,

2022, to transfer out of EGCC to complete their programs of study.”); Pl’s Mot. at 11 (“The DOE’s

subsequent demand that ECC enter into a teach-out agreement is further evidence that the cease-

and-desist letter is a limitation”). This argument—and EGCC’s effort to portray the teach-out

letter as a standalone “enforcement action”—fails for at least two reasons.

       First, under the plain language of the HEA and implementing regulations, teach-out plans

and agreements are protective contingencies that allow students to easily transition to another

program of study in the event their current institution is no longer able to operate, or is forced to

shut down suddenly. See 20 U.S.C. § 1094(f)(2) (“the term ‘teach-out plan’ means a written plan

that provides for the equitable treatment of students if an institution of higher education ceases to

operate before all students have completed their program of study, and may include, if required

by the institution's accrediting agency or association, an agreement between institutions for such a

teach-out plan.”) (emphasis added); 34 C.F.R. § 600.2 (defining a teach-out agreement as one that

“provides for the equitable treatment of students and a reasonable opportunity for students to

complete their program of study if an institution . . . ceases to operate or plans to cease operations

before all enrolled students have completed their program of study.”) (emphasis added). EGCC’s

suggestion that the Department’s teach-out letter forces students to transfer while students are

enrolled at EGCC and taking classes during the Fall semester is baseless and simply fails to

comprehend the entire point of a teach-out agreement. Nobody is forced to transfer from EGCC




                                                 31
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 39 of 46 PAGEID #: 250




to anywhere else under the requested teach-out agreement unless the school ceases its operations.

       Second, EGCC further misstates the record in suggesting that the Department has

“required” or “demanded” the EGCC submit a teach-out agreement to the Department. The teach-

out letter is titled “Request for a Teach-Out Agreement,” see Pl.’s Mot., Ex. 8, and recognizes that

HLC, EGCC’s accreditation agency—which exercises primary responsibility over teach-out plan

requirements—has already “required the institution to submit a teach-out plan.” See Ex. 2 at 2 &

n.2 (HLC letter to EGCC requiring development of a “provisional plan” and citing HLC

Regulations dealing with “Commission Approval of Institutional Teach-Out Arrangements”). Cf.

Caruso Tr. for ITT Educ. Servs. Inc. v. Modany, No. 118CV02182JPHTAB, 2022 WL 2305693,

at *3 (S.D. Ind. June 27, 2022) (“teach-out plans are only required to be submitted to a school’s

accreditor when specific, triggering events occur”) (emphasis added). The Department’s letter

merely parrots the requirements already imposed on EGCC by its accreditation agency (HLC), and

notes that “the Department believes it is in the best interests of students for EGCC to enter into a

teach-out agreement with an institution or institutions to assist students if they are unable to finish

their programs of study.” Pl.’s Mot., Ex. 8. Therefore, while EGCC argues that the teach-out

request reinforces that the Department has imposed a limitation on EGCC’s Title IV ability to

participate in Title IV, see Pl.’s Mot. at 11, the Department has not “required” a teach-out

agreement here. Cf. 20 U.S.C. § 1094(f)(1) (“the Secretary shall require” a teach-out agreement

“[i]n the event the Secretary initiates the limitation, suspension, or termination of the participation

of an institution of higher education in any program under this subchapter.”)

       D.      The Department’s Determination in the Cease-and-Desist Letter Is Not
               Arbitrary and Capricious.

       EGCC is likewise unable to succeed on the merits of its claim that the Department’s

determination in the cease-and-desist letter—that as currently structured the Free College Benefit



                                                  32
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 40 of 46 PAGEID #: 251




Program violates Tile IV—is arbitrary and capricious under the APA. The HEA defines “cost of

attendance” as “tuition and fees normally assessed a student carrying the same academic workload

as determined by the institution, and including costs for rental or purchase of any equipment,

materials, or supplies required of all students in the same course of study.” 20 U.S.C.A. § 1087ll.

Courts interpreting this provision have explained that the definition refers to a tally of expenses

actually incurred by a student by virtue of his or her attendance at the institution. See Noerand v.

Devos, 474 F. Supp. 3d 394, 401 (D. Mass. 2020) (“Title IV’s definition of ‘cost of attendance’

refers simply to the tuition and fees accrued by a student attending an educational institution and

makes no mention of a students’ . . .Title IV eligibility.”); Oakley v. Devos, No. 20-CV-03215-

YGR, 2020 WL 3268661, at *11 (N.D. Cal. June 17, 2020) (noting that the “cost of attendance”

lists “the types of expenses associated with student attendance at IHEs, such as tuition, books, and

room and board”). Cf. In re Marriage of Larsen, 912 N.W.2d 444, 450 (Iowa 2018) (“We believe

the cost of attendance as published by each institution pursuant to 20 U.S.C. § 1087ll is presumed

to be the reasonable and necessary cost of attending an in-state public institution for a course of

instruction.”)

       Under this straightforward statutory language, the Department reasonably concluded that

because Title IV recipients at EGCC were assessed tuition and fee costs in the form of their Pell

Grants (which were actually collected by the school), while non-Pell Grant recipients in the Free

College Benefit Program were not being “assessed” anything, this disparate treatment of Pell-

eligible students violated Title IV. In other words, while the school’s ledgers made it appear that

all students were charged the same tuition costs, as a practical matter only one group of students

(Title IV students) was actually assessed real-world tuition costs, since all other students were

having their costs written off.




                                                33
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 41 of 46 PAGEID #: 252




         EGCC’s counter-arguments lack force. First, EGCC argues that it “assessed (charged) the

same tuition and fees for all union-affiliated students in the Program regardless of financial aid

eligibility.” Pl.’s Mot. at 14. However, this is simply a fiction because the non-Title IV eligible

students had all of these costs written off by the school, and thus these tuition costs and fees were

not “assessed” in any sense of the word. The amounts were not “charged to all students,” Pl.’s

Mot. at 14—as to the non-Title IV eligible students, they were not charged at all. Nor is it material

that the Title IV students themselves are not paying the tuition costs and fees or incurring debt in

order to fund their education. Section 1087 only speaks of tuition and fees “assessed a student”;

it does not require that the student herself actually pay, and the statutory definition plainly covers

situations where grants—rather than loans or on-hand cash—are funding the student’s course of

study.

         Second, while EGCC is correct that institutions can treat Pell funds the same way they do

dollars paid in cash in terms of funding various programs and initiatives, see Pl.’s Mot. at 15, this

drastically understates the scope of EGCC’s Free College Benefit Program, where Pell Funds alone

are funding the entire academic program, including for non-Title IV eligible students (resulting in

the disparate treatment discussed above). Moreover, unlike cash payments, Pell Funds are required

to be returned to the Department of Education if a student discontinues his or her enrollment in the

middle of a semester, and here EGCC has no mechanism to track Title IV enrollment and whether

students are finishing their courses of study. Given the exclusive reliance on Pell Funds to bankroll

the broader program, the Department reasonably concluded that such a program violates Title IV.

III.     THE REMAININING PRELIMINARY INJUNCTION FACTORS COUNSEL IN
         FAVOR OF DENYING RELIEF

         EGCC’s claim to have suffered irreparable harm as a result of the Department’s actions

lack merit. As an initial matter, each of the four “categories” of harm identified by EGCC as



                                                 34
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 42 of 46 PAGEID #: 253




supporting its need for immediate relief—which fail on their own terms in any event—fall short

of meeting the requirement in the Sixth Circuit that a party show that it “will suffer actual or

imminent harm rather than harm that is speculative or unsubstantiated.” Abney v. Amgen, Inc., 443

F.3d 540, 552 (6th Cir. 2006). Any harms that EGCC may suffer would not manifest until January

at the earliest, when the Spring semester begins. While EGCC alleges in passing that enrollment

for the Spring semester will begin in October, see Pl.’s Mot. Ex. A (Geoghegan Decl. ¶ 32), EGCC

provides no details regarding precisely when the enrollment window will open, or why the school

could not enroll students later in the Fall for the Spring semester. Any harm, then, is far from

imminent as required for extraordinary relief. EGCC’s arguments to the contrary are unpersuasive.

        First, EGCC’s claim to have suffered “irreparable financial harm,” Pl.’s Mot. at 17, ignores

that EGCC has been able to draw on Pell Grant funding for students enrolled in the Fall semester.5

See Pl.’s Mot., Ex. 5. Moreover, EGCC and Defendants continue to engage in a meaningful

exchange over possible revisions to EGCC’s scholarship program that would bring the program

into compliance with Title IV’s prohibition on disparate tuition charges between Pell Grant

recipients and other students. Additionally, EGCC’s argument that the cease-and-desist letter

“threatens its continued operations as a community college,” Pl.’s Mot. at 18, ignores that the

Department has specifically informed EGCC that students attending the school outside the

parameters of the nationwide Free College Benefit Program—including local county residents—

may continue to access Pell Funds for their education at EGCC.




5 Here, EGCC also repeats the nonsensical argument that the requested teach-out agreement
“effectively secur[es] the transfer of all current students to other institutions,” Pl.’s Mot. at 17, but
as discussed supra Section II.C, that argument simply misunderstands the entire point of a teach
out agreement. No students are required to leave EGCC under any action the Department has taken.


                                                  35
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 43 of 46 PAGEID #: 254




        Second, EGCC perplexingly argues that it has suffered imminent “reputational harm,” Pl.’s

Mot. at 18, when it was EGCC itself that first publicly revealed the existence of the Department’s

program review and July 18 cease-and-desist letter, first in the context of defending a lawsuit

brought against EGCC by Student Resource Center, see Def’s Br. in Opp’n to Motion to Show

Cause, Student Resource Center v. EGCC, 22-cv-002653 (S.D. Ohio Aug. 18, 2022), ECF No. 22

at 1, and now in this lawsuit. EGCC cannot claim irreparable harm from public disclosure of the

program review and the cease-and-desist letter brought about by its own actions. See Livonia

Properties Holdings, LLC v. 12840-12976 Farmington Rd. Holdings, LLC, 399 F. App’x 97, 104

(6th Cir. 2010) (“self-inflicted harm is not the type that injunctions are meant to prevent”);

11A WRIGHT & MILLER, FEDERAL PRACTICE & PROCEDURE CIV. § 2948.1 (2d ed.)

(“Not    surprisingly,   a   party   may       not    satisfy   the irreparable harm requirement   if

the harm complained of is self-inflicted.”).

        Third, EGCC’s claim to have suffered imminent and irreparable “student harm,” see Pl.’s

Mot. at 19, has it exactly backwards: concerns about whether EGCC can continue to operate in a

sustainable fashion, along with other concerns on the part of regulators with the school’s practices

and the probationary action taken by the school’s accreditation agency, were what led the

Department to place the school on HCM2 status, precisely to protect students. See Pl.’s Mot., Ex.

Ex. 7. Moreover, the Department suggested that the school enter into a teach-out agreement with

other institutions precisely to avoid student harm in the event that EGCC was required to fold. See

Pl.’s Mot., Ex. 8. Were EGCC truly concerned with avoiding student harm, it would have taken

affirmative steps toward establishing a teach-out agreement.

        Fourth, in cursory fashion EGCC argues that it has suffered constitutional harm from a

denial of its due process rights. See Pl’s. Mot at 20. However, as discussed supra Section II.B.1,




                                                 36
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 44 of 46 PAGEID #: 255




the Department was not required to follow the precise procedures in the Subpart G regulations

because the cease-and-desist letter does not impose a “limitation” on EGCC’s participation in Title

IV programs, and in any event EGCC has received (and continues to receive) adequate process.

       Finally, with respect to the final two preliminary injunction factors, “[t]he harm to the

opposing party and the public interest factors merge when the Government is the opposing

party.” Wilson v. Williams, 961 F.3d 829, 845 (6th Cir. 2020); see also R.K. v. Lee, 563 F. Supp.

3d 774, 786 (M.D. Tenn. 2021) (“When the government opposes injunctive relief, the third and

fourth elements merge.”).

       Here, the public interest would be disserved by an injunction because it would undermine

the ability of the Department to secure compliance with Title IV through consultative mechanisms

like cease-and-desist letters and negotiations with a school to help them resolve issues in their

programs proactively so as to avoid incurring larger liability.

       Additionally, an injunction here would hamper the ability of the Department to

affirmatively identify Title IV problems at institutions during the course of a broader program

review and would instead require the Department to await the issuance of a final program review

before it could inform a school of a violation, which would be costly, inefficient, and harmful to

students.

                                         CONCLUSION

       For the foregoing reasons, Defendants are entitled to dismissal for lack of subject matter

jurisdiction. Should the court determine that it has jurisdiction over EGCC’s claims, the court

should deny EGCC’s Motion for Preliminary Injunction.




                                                37
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 45 of 46 PAGEID #: 256




    Dated: September 20, 2022                Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             MARCIA BERMAN
                                             Assistant Branch Director

                                             s/ Alexander N. Ely
                                             ALEXANDER N. ELY
                                             Trial Attorney
                                             United States Department of Justice
                                             Civil Division, Federal Programs Branch
                                             1100 L Street NW, Washington, DC 20005
                                             Tel: (202) 993-5177; Fax: (202) 616-8470
                                             alexander.n.ely@usdoj.gov

                                             Counsel for Defendants




                                       38
Case: 2:22-cv-03326-EAS-EPD Doc #: 19 Filed: 09/20/22 Page: 46 of 46 PAGEID #: 257




                                CERTIFICATE OF SERVICE

       I certify that on September 20, 2022, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which sent e-mail notification of such filing to all CM/ECF

participants.

                                                     /s/ Alexander N. Ely
                                                     Alexander N. Ely

                                                     Counsel for Defendants




                                               39
